           Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


    JORDAN ROY, and
    JUSTIN TRUMBULL, on behalf of               Case No.: 3:17-cv-30116-KAR
    themselves and others similarly situated,

                   Plaintiffs,

    v.

    FEDEX GROUND PACKAGE SYSTEM,
    INC.,

                   Defendant.

         DEFENDANT FEDERAL EXPRESS CORPORATION’S SECOND OFFER OF
            JUDGMENT UNDER FEDERAL RULE OF CIVIL PROCEDURE 68




`
         Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 2 of 6




        Defendant Federal Express Corporation, successor by merger to FedEx Ground Package

System, Inc., (“FedEx”) makes this offer of judgment under Federal Rule of Civil Procedure 68,

which must be accepted in its entirety, as follows:

        1.      FedEx allows judgment to be entered against it for Plaintiffs Jordan Roy and

Justin Trumbull in the total amount of $40,000.00 ($20,000.00 to Jordan Roy; $20,000.00 to

Justin Trumbull).

        2.      FedEx allows judgment to be entered against it for Plaintiffs’ attorneys’ fees and

costs in the amount of $126,773.28.

        3.      Total offer of judgment amount is therefore $166,773.28. 1099s will issue to

Plaintiffs and Plaintiffs’ attorneys.

        4.      This offer is intended to fully satisfy the individual claims of Plaintiffs Roy and

Trumbull asserted in this action or which could have been asserted in this action, including any

pre-judgment interest, costs, and attorneys’ fees.

        5.      As required by Rule 68, this offer of judgment is made at least 14 days before the

date set for trial (October 21, 2024). This offer shall be deemed withdrawn unless written notice

of Plaintiffs’ acceptance is received within 14 days of service.

        6.      This offer of judgment is made for purposes of Rule 68 only and shall not

constitute or otherwise be construed as an admission of either that FedEx is liable in this action

to Plaintiffs or any other person or as an admission that Plaintiffs or any other person have

suffered any damages or is entitled to any recovery as alleged.

        7.      This offer, even when accepted, will have no preclusive effect against FedEx

regarding Plaintiffs’ allegations, shall not constitute adjudication of the issues, and shall not




                                                  1
         Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 3 of 6




operate as collateral estoppel/issue preclusion against FedEx in any other lawsuit, arbitration,

administrative proceeding, government action, or other proceeding.




                                                 2
        Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 4 of 6




Dated: July 29, 2024                Respectfully submitted,


                                    /s/ Jessica G. Scott
                                    Jessica G. Scott (pro hac vice)
                                    Wheeler Trigg O’Donnell LLP
                                    370 Seventeenth Street, Suite 4500
                                    Denver, CO 80202-5647
                                    Telephone: 303.244.1800
                                    Facsimile: 303.244.1879
                                    Email:        scott@wtotrial.com


                                    Attorney for Federal Express Corporation,
                                    successor by merger to FedEx Ground Package
                                    System, Inc.




                                      3
         Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 5 of 6




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed through the
ECF system and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on July 29, 2024.

The following are those who are currently on the list to receive e-mail notices for this case.

   •   Shannon Liss-Riordan
       sliss@llrlaw.com

   •   Krysten L. Connon
       kconnon@llrlaw.com

   •   Peter Winebrake
       pwinebrake@winebrakelaw.com

   •   Mark J. Gottesfeld
       mgottesfeld@winebrakelaw.com

   •   Michelle Tolodziecki
       mtolodziecki@winebrakelaw.com

   •   Richard E. Hayber
       rhayber@hayberlawfirm.com

   •   Joseph P. McHugh
       joseph.mchugh@fedex.com

   •   Kenneth D. Sansom
       ksansom@spotswoodllc.com

   •   Cheryl B. Pinarchick
       cpinarchick@fisherphillips.com

   •   Jessica G. Scott
       scott@wtotrial.com

   •   Andrew H. Myers
       myers@wtotrial.com

   •   David J. Schaller
       schaller@wtotrial.com
     Case 3:17-cv-30116-KAR Document 439 Filed 07/29/24 Page 6 of 6




•   Juan S. Ramirez
    ramirez@wtotrial.com

•   Kori F. Miller
    kmiller@wtotrial.com

•   Celyn Whitt
    whitt@wtotrial.com

•   Iva Velickovic
    velickovic@wtotrial.com

•   Matthew Carrieri
    mcarrieri@llrlaw.com

•   Natalie R. Colao
    colao@wtotrial.com

•   Thomas C. Dec
    dec@wtotrial.com

•   Morgan B. Franz
    mfranz@spotswoodllc.com

•   Jeremy E. Abay
    jabay@llrlaw.com

                                /s/ Jessica G. Scott
